Case 2:05-cv-02301-.]PI\/|-STA Document 13 Filed 08/26/05 Page 1 of 2 Page|D 24

 

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IN THE UNITEI) sTATEs DISTRICT coURT , _"*~ ' '
FoR THE wEsTERN DlsTRIcT oF TENNESSEE 95 AUG 25 FH 3_
wEsTERN DIVISION ‘ '*9
GAToR FREIGHTWAYS, INC.
d/b/a R + L cARRIERs
Plaimiff,

NO. 05-2301-1\/[1 An

JURY TRIAL DEMANDED
DORO MOTORS, INC.,

VV\¢/\_/\-/\_/`_/\_/`_/V

Defendant.

 

ORDER GRANTING MOTION T() WITHDRAW AS COUNSEL

 

Before the Court is a Motion to Withdraw as Counsel for the Defendant filed by Kirk A.
Caraway, Attorney at Law, and the law firm of Rosenblum & Reisman, P.C., on August 24,
2005. For good cause shown, the motion is GRANTED. Attorney Kirk A. Caraway and the law
firm of Rosenblum & Reisman, P.C., are hereby permitted to withdraw as counsel for Defendant.
Defendant shall have twenty (20) days from entry of the Order to retain new counsel and to notify
the Court as to who will be representing it in this matter. Kirk A. Caraway is ordered to serve a
copy of this Order on the Defendant.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: C¢/{_,E;Mt Q§, @Q._C

This document entered on the docket sh et |n compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
case 2:05-CV-02301 was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Doro Motors, Inc.
378 North Perkins Road
l\/lemphis7 TN 38117

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Ste. 950

l\/lemphis7 TN 38103

Thomas F. Barnett

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

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Honorable J on McCalla
US DISTRICT COURT

